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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA

           v.                                          Case No. 1:21-cr-00582
 MICHAEL A. SUSSMANN,

                Defendant.


                   DEFENDANT MICHAEL A. SUSSMANN’S CONSENT
                          MOTION FOR CLARIFICATION

       Defendant Michael A. Sussmann, with the consent of the Special Counsel, respectfully

requests that the Court issue a supplemental minute order clarifying the restrictions on his pretrial

release.

       By way of background, on September 17, 2021, Mr. Sussmann appeared before the Hon.

Zia M. Faruqui for an initial appearance and arraignment. At that time, Mr. Sussmann and the

Special Counsel reached agreement on conditions of release, including travel restrictions.

Specifically, the parties agreed that Mr. Sussmann could travel: (1) within the greater D.C.

metropolitan area (construed specifically to mean within 50 miles of Mr. Sussmann’s home) and

to New Jersey without the prior approval of United States Pretrial Services (“Pretrial Services”);

and (2) within the continental United States with prior approval by Pretrial Services. See Sept. 17,

2021 Hr’g Tr. at 11:1-16, attached hereto as Exhibit A. Judge Faruqui subsequently issued an

Order Setting Conditions of Release (the “Conditions of Release”), which provided that the

defendant’s travel was “restricted to the Greater DC Metropolitan Area (50 Mile Radius). Travel

permitted to New Jersey for the purpose of visiting Family.” Dkt. No. 9 at 2. The Conditions of
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Release did not, however, indicate that Mr. Sussmann could travel within the continental United

States with the prior approval of Pretrial Services.

       On October 26, 2021, at a pretrial conference before Your Honor, Mr. Sussmann moved to

amend the Conditions of Release to add that Mr. Sussmann could also travel within the continental

United States with the prior approval of Pretrial Services. See Dkt. No. 22 at 12:24-13:12. The

Court subsequently entered a minute order (the “Minute Order”) amending the Conditions of

Release to provide that “the Defendant shall travel to New Jersey and Washington, D.C. without

prior approval from Pretrial Services. All other travel within the continental United States requires

advance notice and approval.” Oct. 26, 2021 Minute Order regarding Status Conference.

       To ensure that Mr. Sussmann may travel freely within the Greater Washington, D.C.

metropolitan area, and with the consent of the Special Counsel, Mr. Sussmann respectfully moves

for a supplemental minute order clarifying that: “Defendant may travel within the Greater DC

Metropolitan Area (50 Mile Radius), and to New Jersey for the purpose of visiting Family, without

prior approval from Pretrial Services. All other travel within the continental United States requires

prior approval from Pretrial Services.”



       Dated: October 29, 2021

                                                       Respectfully submitted,

                                                       /s/ Sean M. Berkowitz
                                                       Sean M. Berkowitz (pro hac vice)
                                                       LATHAM & WATKINS LLP
                                                       330 North Wabash Avenue
                                                       Suite 2800
                                                       Chicago, IL 60611
                                                       Tel: (312) 876-7700
                                                       Fax: (312) 993-9767
                                                       Email: sean.berkowitz@lw.com
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                                 Michael Bosworth (pro hac vice)
                                 LATHAM & WATKINS LLP
                                 1271 Avenue of the Americas
                                 New York, NY 10020
                                 Tel: (212) 906-1200
                                 Fax: (212) 751-4864
                                 Email: michael.bosworth@lw.com

                                 Natalie Hardwick Rao (D.C. Bar # 1009542)
                                 Catherine J. Yao (D.C. Bar # 1049138)
                                 LATHAM & WATKINS LLP
                                 555 Eleventh Street, NW
                                 Suite 1000
                                 Washington, DC 20004
                                 Tel: (202) 637-2200
                                 Fax: (202) 637-2201
                                 Email: natalie.rao@lw.com
                                 Email: catherine.yao@lw.com
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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA

        v.                                            Case No. 1:21-cr-00582
 MICHAEL A. SUSSMANN,

                Defendant.


                                     [PROPOSED] ORDER
       UPON CONSIDERATION of Defendant Michael A. Sussmann’s Motion for Clarification,

IT IS HEREBY ORDERED that the Clerk shall issue a supplemental minute order stating that:

Defendant may travel within the Greater DC Metropolitan Area (50 Mile Radius), and to New

Jersey for the purpose of visiting Family, without prior approval from Pretrial Services. All other

travel within the continental United States requires prior approval from Pretrial Services.

       Entered this ____ day of October, 2021.



                                               ___________________________________
                                               HON. CHRISTOPHER R. COOPER
                                               UNITED STATES DISTRICT JUDGE


          NAMES OF PERSONS TO BE SERVED WITH PROPOSED ORDERS

For Michael A. Sussmann:

Sean M. Berkowitz (pro hac vice)
Latham & Watkins LLP
330 North Wabash Avenue
Suite 2800
Chicago, IL 60611
Tel: (312) 876-7700
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Michael Bosworth (pro hac vice)
Latham & Watkins LLP
1271 Avenue of the Americas
New York, NY 10020
Tel: (212) 906-1200

Natalie Hardwick Rao
Catherine J. Yao
Latham & Watkins LLP
555 Eleventh Street, NW
Suite 1000
Washington, DC 20004
Tel: (202) 637-2200

For the United States of America:

John Durham, Special Counsel
Andrew DeFilippis, Assistant Special Counsel
Michael Keilty, Assistant Special Counsel
United States Department of Justice
145 N Street Northeast
Room 3E.803
Washington, D.C. 20530
